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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                  )
  ZEIKOS INC.,                                    )
                                                  )
  Plaintiff,                                      )
                                                  )        No. 23 C 303
          v.                                      )
                                                  )        Judge Virginia M. Kendall
  WALGREEN CO.,
                                                  )
                                                  )
  Defendant.
                                                  )
                                                  )

                          MEMORANDUM OPINION AND ORDER

       Zeikos Inc. (“Zeikos”), an importer and seller of electronic accessories, entered into a

contract with Walgreen Co. (“Walgreens”) to sell products in “premium space” at Walgreens’s

stores. Zeikos estimated that the deal would generate about $112 million in revenue. But that

estimate missed the mark. Zeikos was selling far below its projections, allegedly because

Walgreens had breached the original and two subsequent contracts. As a result, it sued Walgreens

for fraudulent inducement and breach of contract. Walgreens moves to dismiss. (Dkt. 93). For the

following reasons, the motion is granted. (Id.)

                                         BACKGROUND

       Zeikos engages in the business of “importing, and selling to retailers located throughout

the United States, products including electronic accessories, such as earphones, battery chargers

and speakers.” (Dkt. 88 ¶ 4). In 2011, Zeikos began selling electronic accessories to Walgreens,

one of the largest retail pharmacy chains. (Id. ¶¶ 5–6).

       On May 14, 2019, Jack Saideh and James Trappani—Zeikos’s president and vice president

respectively—met with Albert Gehrke, Walgreens’s buyer for electronic accessories. (Id. ¶¶ 4, 9).


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Gehrke explained that Walgreens would be offering a new business opportunity that might interest

Zeikos. (Id. ¶ 10). Vendors could bid on the right to sell merchandise in a four-shelf fixture in

“certainly highly desirable sections of Walgreen[s’] stores, designed the ‘010’ Space and the

Saddle Fixtures (collectively, the ‘Premium Space’).” (Id.) The “010” Space was adjacent to the

cash registers, so that customers pass by the items as they check out. (Id.) Saddle Fixtures, clear

plastic shelves, were then placed over the existing fixture near the registers to give products more

prominence. (Id.) The resulting “Premium Space was among the most valuable, if not the most

valuable, location in Walgreen[s’] stores.” (Id.) Gehrke represented that in the prior year,

Walgreens assigned the Premium Space to a private label vendor and, the year before, to a vendor

named “Tech&Go.” (Id. ¶ 11). He claimed that Walgreens sold between $80 to $100 million of

private label merchandise the previous year and, the year before, $250 million of Tech&Go’s

merchandise. (Id. ¶ 12).

       Zeikos was interested in the business prospect. (Id. ¶ 14). It offered Walgreens an upfront

credit of $10 million for the exclusive right to sell products for one year in the Premium Space.

(Id.) Trappani provided a spreadsheet with the retail prices, and he estimated that Walgreens could

realistically sell about $112 million worth of Zeikos’s products. (Id. ¶ 16). After a series of

negotiations, Zeikos lowered its offer to $9 million, and Walgreens accepted the exclusive-product

deal. (Id. ¶ 28). Zeikos and Walgreens then executed the Product Placement Agreement (“PPA”).

(Id. ¶¶ 30, 33). Paragraph 5 specified,

       The term of this Agreement shall commence on the Effective Date and continue for
       one (1) year (the ‘Initial Term’). The placement space on the Fixtures shall be re-
       bid to various vendors after one year if the Merchandise does not achieve One
       Hundred Million and No/100 Dollars ($100,000,000) in Net Sales during the Initial
       Term.




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(Id. ¶ 32). Walgreens then ordered $8 million in Zeikos merchandise and took a $5 million credit.

(Id. ¶ 34).

        Zeikos “suspected that something was wrong when Walgreen’s initial projections of

purchases of Merchandise for the Premium Space … demonstrated that Zeikos had little chance of

selling $100,000,000 in Merchandise from the Premium Space.” (Id. ¶ 35). The company

questioned a possible discrepancy between the orders Walgreens placed and the ability to reach its

sales goal. (Id. ¶ 36). Walgreens responded that the projections would change once the products

appeared in the premium space of more stores. (Id. ¶ 35).

        On April 1, 2020, the parties agreed to an Amended and Restated Product Placement

Agreement (“Amended PPA”) for the remainder of the year, replacing the previous PPA. (Id. ¶ 57).

From the execution of the first PPA through the end of the Amended PPA, a little over a year,

Zeikos’s sales never exceeded $20 million. (Id. ¶ 59). The company attributes this shortcoming to

alleged breaches by Walgreens. Specifically, Walgreens never placed Zeikos’s merchandise in the

required 5,000 stores. (Id. ¶¶ 61–62). In some of the stores, Walgreens failed to place the

merchandise in the premium space or “similar placement.” (Id. ¶ 66). Nor did it (1) abide by the

display obligations to use fixtures that fit the packaging of the merchandise, leaving empty spaces

as necessary; (2) place mylar labels for each item of merchandise next to that item, and (3) keep

the Saddle Fixtures free from obstruction from other fixtures and products. (Id. ¶ 67). And despite

ordering $20 million worth of goods, Walgreens only paid $11.85 million, with credits of $7.5

million. (Id. ¶ 70).

        Notwithstanding the alleged breaches, Zeikos and Walgreens exchanged terms for a

proposed agreement spanning the following year, 2021 (the “Renewal”). (Id. ¶ 74). Zeikos sent an

attached document in an email memorializing the agreed-upon terms: its merchandise would



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remain in the premium space, and Zeikos “would provide Walgreen[s] with some price

concessions.” (Id.) Instead of a fixed payment, the parties agreed to a 20 percent product discount.

(Id. ¶ 75). The performance period lasted from January 21, 2021, through December 31, 2021.

(Dkt. 88-3 at 1). Gehrke responded by signing the attached document with the note that a “more

formal agreement will follow.” (Dkt. 88 ¶ 80). Walgreens did send a formal agreement on April 8,

2021. (Id. ¶ 83). It provided that “this Agreement shall commence on January 1, 2021 and continue

for one (1) year (the ‘Term’). The Term will automatically renew for additional one (1) year

periods unless one Party provides the other party at least sixty (60) days’ prior written notice of its

intention to terminate this Agreement at the end of the then-current Term.” (Id.)

        On August 27, 2021, Walgreens terminated the Renewal with sixty days’ notice. (Id. ¶ 85).

During the period that the agreement was in effect, Walgreens allegedly repeated many of its prior

breaches: failing to place the products in the agreed-upon number of stores, failing to present the

merchandise appropriately, and failing to pay for goods sold and delivered. (Id. ¶¶ 87–95). On the

latter issue, Zeikos elaborates that it delivered $8.8 million worth of merchandise but paid $5.285

million with $3.52 million in authorized credits. (Id. ¶ 93).

        Zeikos originally filed suit against Walgreens in the District of New Jersey. 1 (Dkt. 1).

Zeikos then filed an amended complaint before the same court. (Dkt. 24). Walgreens moved to

transfer to the Northern District of Illinois, which was granted. (Dkt. 66). The first district-court

judge declined to decide any other dispositive motions, deferring to the transferee court. (Dkt. 67).

Zeikos then amended its complaint once more. (Dkt. 88). The Second Amended Complaint brings

claims for fraud in the inducement for the original PPA (Count I), negligent misrepresentation in



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  Zeikos is headquartered and organized under the laws of New Jersey; Walgreens is an Illinois corporation,
headquartered in Illinois. This Court has jurisdiction under 28 U.S.C. § 1332 because the parties are diverse, and
amount-in-controversy exceeds $75,000.

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the inducement for the original PPA (Count II), breach of contract for the Amended PPA (Count

III), breach of contract for the Renewal (Count IV), and a breach of contract for failure to pay for

all goods sold and delivered (Count V). (Id.). Walgreens moves to dismiss for failure to state a

claim. (Dkt. 93). Zeikos concedes that it did not state a plausible claim for relief as to Count II but

contends the remaining counts pass muster. The Court accepts this concession and considers the

other counts in turn.

                                        LEGAL STANDARD

          Under Rule 12(b)(6), a complaint must “state a claim to relief that is plausible on its face”

to survive a motion to dismiss. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). This standard “is not akin to a probability requirement, but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. (cleaned up). When considering

a motion to dismiss, courts “accept the allegations in the complaint as true, and draw all reasonable

inferences in favor of the plaintiff.” Crescent Plaza Hotel Owner, L.P. v. Zurich Am. Ins. Co., 20

F.4th 303, 307 (7th Cir. 2021) (cleaned up). But “allegations in the form of legal conclusions are

insufficient” to survive a motion to dismiss, as are “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements.” Def. Sec. Co. v. First Mercury Ins. Co., 803

F.3d 327, 334 (7th Cir. 2015) (quoting Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir.

2014)).




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                                           DISCUSSION

          I.     Fraud in the Inducement (Count I)

          “Fraudulent inducement is a form of common-law fraud.” Avon Hardware Co. v. Ace

Hardware Corp., 998 N.E.2d 1281, 1287 (Ill. App. Ct. 2013) (quoting Lagen v. Balcor Co., 653

N.E.2d 968, 972 (Ill. App. Ct. 1995)). Common-law fraud has five elements: “(1) a false statement

of material fact; (2) defendant’s knowledge that the statement was false; (3) defendant’s intent to

induce plaintiff’s reliance on the statement; (4) plaintiff’s reasonable reliance upon the truth of the

statement; and (5) plaintiff’s damages resulting from reliance on the statement.” Merrilees v.

Merrilees, 998 N.E.2d 147, 158 (Ill. App. Ct. 2013). Federal Rule of Civil Procedure 9(b) imposes

an additional requirement. “In alleging fraud or mistake, a party must state with particularity the

circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). This burden requires “the

plaintiff to describe the who, what, when, where, and how of the fraud.” United States ex rel.

Mamalakis v. Anesthetix Mgmt. LLC, 20 F.4th 295, 301 (7th Cir. 2021) (cleaned up) (quoting

United States ex rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d 770, 776 (7th Cir.

2016)).

          Zeikos’s complaint suffers from two threshold problems. First, Zeikos filed a redacted

version of the Second Amended Complaint. (Dkt. 88; see also Dkt. 95). This decision creates an

obvious problem: the Court has no way to assess blacked-out information. And most of the missing

allegation relate to Count I, fraudulent inducement. Specifically, half of paragraphs twelve and

thirty-nine, paragraphs seventeen through twenty-seven, paragraph forty-five, and paragraph forty-

six—fourteen paragraphs in total—are missing. Local Rule 5.7 permits a plaintiff to file a case

under seal. But Zeikos never used this mechanism or even explained the absence of a significant

number of facts.



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       Second, Zeikos alleged several facts based on “information and belief.” “When a plaintiff

sets out allegations on information and belief, he is representing that he has a good-faith reason

for believing what he is saying, but acknowledging that his allegations are ‘based on secondhand

information that [he] believes to be true.’” Pirelli Armstrong Tire Corp. Retiree Medical Benefits

Trust v. Walgreen Co., 631 F.3d 436, 442 (7th Cir. 2011) (quoting Black’s Law Dictionary 783

(7th ed. 1999)). Under the plausibility standard, allegations on “information and belief” are viewed

somewhat skeptically (described more below). For fraud claims, they have almost no place.

“[A]lleging fraud ‘on information and belief’ is normally insufficient to satisfy Rule 9(b)’s

heightened pleading standard.” Mamalakis, 20 F.4th at 301. Zeikos has failed to articulate why its

facts are sufficient. As such, its allegations based “information and belief” cannot be used to

support its fraudulent-inducement claim.

       Stripped of both redacted and information-and-belief facts, there isn’t much left. Zeikos

has not explained with particularity how Walgreens fraudulently induced the company. It alleges

that Walgreens convinced the company to sign the original PPA based on false sales data from the

previous two years. (Dkt. 88 ¶¶ 38–41). But this conclusory statement offers little context, much

less the “who, what, when, where, and how of the fraud.” Mamalakis, 20 F.4th at 301. Two points

bear particular emphasis. Zeikos does not provide any support for the conclusion either that these

figures were false or that Walgreens knew these figures were false. See Merrilees, 998 N.E.2d at

158. The pivotal paragraph states only that “[u]pon information and belief, Walgreen’s actual retail

sales of private label merchandise from the Premium Space in the prior year were”—and the rest

is redacted. (Id. ¶ 39). This unilluminating allegation simply does not suffice. Zeikos may have

sold fewer goods than the projected $100 million. Several reasons could explain that, however.

(For example, Zeikos may have inferior goods.) Moreover, while the company emphasizes that it



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“questioned … the discrepancy,” it still signed an Amended PPA, then a Renewal the following

year. (Id. ¶ 36). The decision to sign more agreements with a company that allegedly committed

fraud undermines the argument altogether. Rule 9(b) demands “precision and some measure of

substantiation.” Mamalakis, 20 F.4th at 301. Both are lacking here.

       II.     Breach of Contract (Counts III – V)

       Parties must abide by the terms of a contract. See In re Illinois Bell Telephone Link-Up II,

994 N.E.2d 553, 558 (Ill. App. Ct. 2013). Zeikos alleges a breach of the Amended PPA (Count III)

and the Renewal (Count IV); along with the claim that Walgreens still owes Zeikos money for

unpaid goods (Count V). Each falls flat.

       Zeikos again pleads allegations based on “information and belief.” Unlike fraud claims

though, Rule 9(b)’s particularity requirement does not govern; a claim need only be “plausible on

its face.” Twombly, 550 U.S. at 570. The different standard means a less demanding approach.

“[F]actual allegations [pleaded] on information and belief” are accepted if “the facts are peculiarly

within the possession and control of the defendant” or “the belief is based on factual information

that makes the inference of culpability plausible.” Ahern Rentals, Inc. v. EquipmentShare.com,

Inc., 59 F.4th 948, 954 (8th Cir. 2023) (quoting Arista Recs. LLC v. Doe 3, 604 F.3d 110, 120 (2d

Cir. 2010)); see also Menard v. CSX Transp., Inc., 698 F.3d 40, 45 (1st Cir. 2012); Soo Park v.

Thompson, 851 F.3d 910, 928 (9th Cir. 2017); cf. Pirelli Armstrong, 631 F.3d at 442–43.

Ultimately, the more forgiving standard means little. Zeikos has not established why any of the

complaint’s information-and-belief facts arise from evidence within the exclusive control of

Walgreens or that its beliefs “makes the inference of culpability plausible.” Ahern Rentals, 59

F.4th at 954 (quoting Arista Recs., 604 F.3d at 120).




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       Start with the Amended PPA. Zeikos alleges that Walgreens violated three terms of their

contract by failing to place Zeikos’s merchandise in the agreed-upon number of stores, failing to

place the merchandise in the coveted premium space, and failing to properly present the

merchandise. (Dkt. 88 ¶¶ 61–68). The problem lies with the fact that all three of these allegations

are based upon “information and belief.” (Id. ¶¶ 64, 66, 68). Walgreens does not have exclusive

control over the information underlying these allegations. Zeikos should know—and be able to

provide some evidence (photos, videos, invoices, attestations, etc.)—for each assertion.

Presumably, a company would engage in fact-checking to ensure a party is adhering to terms of a

$100 million contract. Zeikos is a sophisticated entity with resources and advanced capabilities. It

could gather support for each allegation. It chose not to.

       That leaves the company with only the second way of substantiating its information-and-

belief allegations—the facts “make[] the inference of culpability possible.” Ahern Rentals, 59

F.4th at 954 (quoting Arista Recs., 604 F.3d at 120). But the complaint is largely conclusory.

Paragraph sixty-four states that “Walgreen failed to meet its obligation … to place each item … in

5,000 stores.” (Dkt. 88 ¶ 64). Paragraph sixty-six adds the merchandise was not placed “in the

Premium Space or … ‘similar placement.’” (Id. ¶ 66). And paragraph sixty-eight states that

Walgreens “failed to meet its obligation to present the Merchandise in all of the stores in a

commercially reasonable manner.” (Id. ¶ 68). No other facts support these conclusions, which

independently makes the “inference of culpability” difficult to draw. But there is more. The history

between the parties again undercuts any plausibility. Zeikos willingly renewed its contract with

Walgreens even after these alleged breaches—while offering a considerable incentive, a 20 percent

discount. (Id. ¶ 77). While it is possible that two entities might continue to contract with one

another and leave possible breaches to the courts, more explanation would be required to make



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that scenario believable. That is certainly true when a party attempts to submit factual allegations

based on “information and belief.”

       Zeikos makes an identical mistake in arguing that Walgreens breached the Renewal. The

allegations mirror each other: “Upon information and belief, Walgreen[s] failed to meet its

obligation under the January 2021 Contract to place Zeikos’s Merchandise in 5,000 stores,” (id.

¶ 89), and “Upon information and belief, Walgreen[s] failed to meet its obligation to present the

Merchandise in a commercially reasonable manner,” (id. ¶ 91). Again, because Zeikos’s

submissions are neither under the control of Walgreens nor plausible, they cannot be accepted.

Without them, only legal conclusions remain. Those submissions are insufficient to state a

plausible claim of relief.

       As for the “unpaid goods,” the Second Amended Complaint itself suggests that Walgreens

owes nothing to Zeikos. It states, Walgreens placed orders, and Zeikos delivered merchandise,

totaling $6.575 million; Walgreens paid Zeikos $3.95 million and took $2.5 million in authorized

credits. (Dkt. 88 ¶¶ 98–99). But only six paragraphs above, the allegation reads, “Walgreen[s] paid

Zeikos about $5,285,000, and took authorized credits of $3,520,000.” (Id. ¶ 93). These latter

numbers suggest that Walgreens overpaid. At a minimum, the complaint contradicts itself, lacking

clarity as to what exactly Walgreens purchased and paid. Zeikos concedes “the language could be

clearer” yet still asks the Court to engage in mathematical gymnastics, adding together unclear

statements in various parts of the complaint to arrive at a figure of $777,000. (Dkt. 95 at 15). That

request misunderstands the role of judges, who are not arithmeticians rummaging around a factual

morass to save a poorly worded complaint. Zeikos will have a chance to straighten out the “could

be clearer” language. For now, though, its claim does not survive.




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                                          CONCLUSION

       For these reasons, the motion to dismiss is granted. (Dkt. 93). Plaintiffs are generally

afforded the chance to amend their complaints. Runnion ex rel. Runnion v. Girl Scouts of Greater

Chi. & Nw. Ind., 786 F.3d 510, 519 (7th Cir. 2015). It is not “certain from the face of the complaint

that any amendment would be futile or otherwise unwarranted.” Saint Anthony Hosp. v. Eagleson,

40 F.4th 492, 517 (7th Cir. 2022) (quoting Runnion, 786 F.3d at 519). Thus, the dismissal shall be

without prejudice to the filing of an amended complaint or complaints no later than June 30, 2023.

If no complaint is filed by that date, the dismissal shall convert to one with prejudice.




                                                      ____________________________________
                                                      Virginia M. Kendall
                                                      United States District Judge
Date: June 12, 2023




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